                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                          )
                                                  )
v.                                                )      CASE NO. 1:11-00010
                                                  )      JUDGE SHARP
JERAMIE HILL                                      )
LARRY GENE BLY                                    )

                                         ORDER


       Pending before the Court is Defendant Hill’s Motion to Set Change of Plea Hearing

(Docket No. 134) and Defendant Bly’s Motion to Set Change of Plea Hearing (Docket No. 135)

       The motions are GRANTED and a hearing on a plea of guilty is hereby scheduled for

Friday, August 2, 2013, at 9:00 a.m.

       It is so ORDERED.




                                                 KEVIN H. SHARP
                                                 UNITED STATES DISTRICT JUDGE




 Case 1:11-cr-00010        Document 136      Filed 07/23/13    Page 1 of 1 PageID #: 399
